Case 6:17-cv-00278-JA-KRS Document 16 Filed 03/09/17 Page 1 of 3 PageID 447




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


                                                        CASE NO. 6:17-cv-278-Orl-28KRS

ABDULLAH RABBAT,
    Plaintiff,

v.

COVINGTON SPECIALTY
INSURANCE COMPANY, a Florida
corporation,
       Defendant.                              |

                    UNOPPOSED MOTION FOR EXTENSION OF TIME

        Plaintiff, Abdullah Rabbat, through his counsel and pursuant to Rule 6(b)(1)(A) of the

Federal Rules of Civil Procedure, hereby moves for the entry of an Order extending his time to

respond to the Amended Motion to Dismiss until April 4, 2017, and as grounds therefore states:


        1.      Mr. Rabbat’s response to the Defendant’s Amended Motion to Dismiss, is

currently due on March 21, 2017.

        2.      I was asked to appear in this matter on behalf of the Plaintiff last week as the

attorney previously assigned to this case is not yet admitted to this court.

        3.      While I have reviewed most the court filings, I have not yet had the opportunity to

fully familiarize myself with the facts or legal issues.

        4.      Furthermore, in addition to my otherwise busier-than-usual schedule, I have an

appointment on March 17, 2017, to meet with the Office of the Solicitor General to discuss the

position the United States will take regarding a petition for a writ of certiorari I filed in the

Supreme Court. S. Ct. Case. No. 16-534. Much preparation for that meeting is required.


Matter # 1199                                                                               Page 1 of 3
Case 6:17-cv-00278-JA-KRS Document 16 Filed 03/09/17 Page 2 of 3 PageID 448



       5.       I have conferred with opposing counsel who does not oppose the entry of an

Order granting the requested extension.




Dated: March 9, 2017.                        Respectfully submitted,


                                             /s/ Asher Perlin
                                             Attorney, of Counsel
                                             Florida Professional Law Group, PLLC
                                             Asher Perlin, Esq.
                                             Florida Bar No. 979112
                                             4600 Sheridan St., Suite 303
                                             Hollywood, FL 33021
                                             Tel. (954) 284-0900
                                             Fax. (954) 284-0747
                                             E-mail: aperlin@flplg.com
                                             E-mail: eservice@flplg.com
                                             Attorneys for Plaintiff, Abdullah Rabbat




Matter # 1199                                                                           Page 2 of 3
Case 6:17-cv-00278-JA-KRS Document 16 Filed 03/09/17 Page 3 of 3 PageID 449



                                       Certificate of Service

       I hereby certify that on March 9, 2017, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

this day on all counsel of record or pro se parties identified on the Service List below in the

manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

or in some other authorized manner for those counsel or parties who are not authorized to receive

electronically Notice of Electronic Filing.


                                                                By: /s/ Asher Perlin
                                                                    Asher Perlin
                                                                    Florida Bar No. 979112

                                         SERVICE LIST

William R. Lewis, Esq.
wlewis@butler.legal
Christopher M. Ramey, Esq.
cramey@butler.legal
Butler Weihmuller Katz Craig, LLP
400 N. Ashley Drive, Ste. 2300
Tampa, Florida 33602




Matter # 1199                                                                            Page 3 of 3
